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                                  UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                           CASE NO.: 13-CV-62399-PCH

   MARIE LUCIEN,

                      Plaintiff,
   vs.

   FEDERAL      NATIONAL    MORTGAGE
   ASSOCIATION     AND   GREEN  TREE
   SERVICING, LLC,

              Defendants.
  ________________________________________/

                RESPONSE TO DEFENDANTS’ MOTION TO DISMISS PLAINTIFF'S
                 COMPLAINT AND INCORPORATED MEMORANDUM OF LAW

             Pursuant to Local Rule 7.1, Plaintiff, MARIE LUCIEN, [“Plaintiff”] hereby responds to

  Defendants’, FEDERAL NATIONAL MORTGAGE ASSOCIATION [“FANNIE MAE”] and

  GREEN TREE SERVICING, LLC [“GREEN TREE”], Motion to Dismiss under Federal Rule

  12(b)(6) of the Federal Rules of Civil Procedure, and respectfully requests this Honorable Court

  enter an Order denying the relief sought by Defendants. In support of her Motion, Plaintiff

  submits the incorporated memorandum of law.

                      I. INTRODUCTION AND BACKGROUND

             The action is this Court arose on Defendants’ failure to comply with the Truth In Lending

  Act, 15 U.S.C. §1601 et seq. ["TILA”]. Specifically, Plaintiff seeks the remedies as provided in

  TILA for Defendants’ failure to timely provide an accurate payoff statement as required by 12

  C.F.R. § 226.36(c)(1)(iii). In her three-count Complaint1, Plaintiff alleges that GREEN TREE

  was the servicer of the subject loan, and that “On or about November 13, 2012, GREEN TREE

  received a written request (“Plaintiff's request”), sent on behalf of Plaintiff, for information
  1
      Plaintiff has since withdrawn Count ii of her Complaint [D.E. 16].
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  pursuant to TILA and Regulation Z.” [D.E. 1, Compl. ¶ 16] Although obligated to do so in

  accordance with Federal statutes, “GREEN TREE has failed to provide an accurate payoff

  statement within a reasonable time after receiving a request, contrary to 12 C.F.R.

  §226.36(c)(1)(iii).” [D.E. 1, Compl. ¶ 28].

         In its Motion to Dismiss [D.E. 10], Defendants make multiple arguments. Prior to making

  any substantive arguments, Defendants accuse Plaintiff’s counsel, Loan Lawyers, LLC, of

  harvesting law suits for the purpose of obtaining statutory damages and attorney’s fees and to

  gain leverage in foreclosure proceedings.

         Substantively, Defendants make the following arguments. First, Defendants argue that

  FANNIE MAE, as an assignee, is only liable for violations that are apparent on the face of

  disclosures that are provided in connection with the origination of the loan. Second, Defendants

  argue that TILA does not impose vicarious liability on creditors for acts or omissions of a

  servicer. Third, Defendants argue that servicers are exempt from liability under TILA unless they

  are a current owner or previous owner of the mortgage loan at issue. Fourth, Defendants argue

  that the information provided to Plaintiff fully complies with TILA. Fifth, Defendants argue that

  TILA’s failure to supply a vicarious liability standard makes it unconstitutionally vague. Finally,

  Defendants argue that there is no express or implied private cause of action for consumers to

  pursue an action for vicarious liability against an assignee for the failure of a servicer to comply

  with TILA or affirmative relief under 15 U.S.C. 1641(f)(2) and 12 C.F.R. 226.36(c)(1)(iii).

         II. MEMORANDUM OF LAW

         In considering a 12(b)(6) motion to dismiss, a court's review is “limited to the four

  corners of the complaint.” Wilchombe v. TeeVee Toons, Inc., 555 F.3d 949, 959 (11th Cir.

  2009) (quoting St. George v. Pinellas County, 285 F.3d 1334, 1337 (11th Cir. 2002)).

  Additionally, a court must view the complaint in the light most favorable to the plaintiff, and it


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  must generally accept the plaintiff's well-pleaded facts as true. Hishon v. King v. Spalding, 467

  U.S. 69 (1984); Am. United Life Ins. Co. v. Martinez, 480 F.3d 1043 (11th Cir. 2007).

         Once a court identifies pleadings that, because they are no more than conclusions, are not

  entitled to the assumption of truth, the court must next determine whether the well-pled facts

  state a claim to relief that is plausible on its face.'" Twombly, 550 U.S. at 570. Plaintiff has

  “well-pled” the facts that gave rise to his Complaint down to the exact dates HSBC unlawfully

  failed to comply with TILA. The facts supporting each element of the cause of action are pled.

  Thus, Plaintiff has stated a valid cause of action.

         A. Defendants’ Violations Were “Apparent on the Face” of the Disclosure
            Statements

         As a threshold matter, “TILA is a consumer protection statute, and as such must be

  construed liberally in order to best serve Congress' intent.” Ellis v. General Motors Acceptance

  Corp., 160 F.3d 703, 707 (11th Cir. 1998).

         Defendants argue that FANNIE MAE is only responsible for violations that apparent on

  the face of disclosure documents in existence at the time of assignment. [D.E. 10 at 6].

  Defendants cite to Signori v. Fed. Nat. Mortg. Ass'n, 934 F. Supp. 2d 1364, 1367 (S.D. Fla.

  2013) for support. In Signori, Judge Scola dismissed the case but limited its ruling to whether

  “[a]n assignee may only be held liable for violations that are apparent on the face of disclosure

  documents that exist at the time of the assignment.” Id. at 1367. The court found that because the

  subject disclosure violations occurred after the origination of the loan, Fannie Mae – as assignee

  – could not be held liable. The court found that “the TILA provisions are clear that the disclosure

  documents referred to in Sections 1641(a) and 1641(e)(1) are documents generated in connection

  with the origination of the loan. Consequently, documents generated after an assignment has

  occurred cannot form the basis of an assignee’s liability under Section 1641”. [Id.]. Plaintiff

  respectfully requests this Court not adopt the ruling in Signori and submits that 15 U.S.C.

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  1641(g) confirms that assignee liability is not limited to disclosures in connection with the

  origination of the loan.

         15 U.S.C. 1641(g) governs disclosures that must be made by new assignees. If assignee

  liability is limited only to disclosures in connection with the origination of the loan, there could

  never be liability for a violation of §1641(g) because by definition, it requires disclosures that

  cannot be initial disclosures. Yet, liability for §1641(g) was specifically and deliberately inserted

  in § 1640(a) – TILA’s civil liability section. If the Court limits disclosure violations solely to

  initial disclosures, Congress’ deliberate insertion will be rendered meaningless. It is a “settled

  rule that a statute must, if possible, be construed in such fashion that every word has some

  operative effect”. United States v. Nordic Village Inc., 503 U.S. 30, 36 (U.S. 1992).

         Section 1641(g) provides as follows:

                 (g) Notice of new creditor

                             (1) In general

                                 In addition to other disclosures required by this subchapter,
                                 not later than 30 days after the date on which a mortgage
                                 loan is sold or otherwise transferred or assigned to a third
                                 party, the creditor that is the new owner or assignee of the
                                 debt shall notify the borrower in writing of such transfer,
                                 including--
                                (A) the identity, address, telephone number of
                                the new creditor;
                                (B) the date of transfer;
                                (C) how to reach an agent or party having authority
                                to act on behalf of the new creditor;
                                (D) the location of the place where transfer of
                                ownership of the debt is recorded; and
                                 (E) any other relevant information regarding the
                                new creditor.

                 15 U.S.C. § 1641(g)

         Under §1641(g), an assignee’s duty only arises after it takes assignment of the loan which

  can only occur after origination. Thus, an assignee’s disclosure violation must be for disclosures


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  that occurred post-origination. The same rationale applies to §1639(l)(2). Moreover, this is not

  inconsistent with the language of 15 U.S.C. § 1641(a) or 15 U.S.C. § 1641(e)(1). §1641(e) states

  that an action against an assignee may be maintained only if (A) the violation for which such

  action or proceeding is brought is apparent on the face of the disclosure statement provided in

  connection with such transaction pursuant to this subchapter; and (B) the assignment to the

  assignee was voluntary. 15 U.S.C. 1641(e). 15 U.S.C. 1641(e)(2)(B) states that a violation can be

  apparent on the face of the disclosure “if the disclosure statement does not use the terms or

  format required to be used by this subchapter.” 15 U.S.C. 1641(e)(2)(B).

         The text of the statute does not limit liability to disclosures in connection with loan

  origination in any way. See Rinegard-Guirma v. Bank of Am. NA, 2012 WL 1110071 (D. Or.

  Apr. 2, 2012); Runkle v. Fed. Nat. Mortg. Ass'n, 905 F. Supp. 2d 1326 (S.D. Fla. 2012); Cenat v.

  U.S. Bank, N.A., 2013 WL 1136585 (S.D. Fla. 2013); Consumer Solutions REO, LLC v. Hillery,

  2010 WL 1222739 (N.D. Cal. 2010).

         Further, at least two other courts in the Southern District of Florida have addressed this

  exact issue. St. Breux v. U.S. Bank, Nat. Ass'n, 919 F.Supp.2d 1371 (S.D. Fla. 2013) and Cenat

  v. U.S. Bank, N.A., 930 F.Supp.2d 1347 (S.D. Fla. 2013). In Cenat, Judge Kenneth Marra

  adopted and incorporated Judge William P. Dimitrouleas’s following reasoning in St. Breux.

  Cenat, at 1353:

                  First, TILA provides that assignees are liable just like creditors, so long as
         the TILA violation is “apparent on the face of the disclosure statement.” §
         1641(a). Setting aside the “apparent on the face” language for a moment,
         subsection (a) makes it apparent that assignees can be liable like creditors. Such a
         result makes sense. The only difference between a creditor and an assignee is that
         the creditor originates the loan and then owns the obligation, whereas an assignee
         only receives the ownership of the loan without having originated the loan. See 15
         U.S.C. §§ 1602(g), 1641(a). The type of conduct that violates TILA's
         informational request provisions like asking for a payoff statement, however, only
         arises post-origination. The distinction between originator and assignee therefore
         is irrelevant.

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                 From a policy perspective, if a creditor is going to be liable for employing
        an irresponsible servicer, an assignee, who is acting just like a creditor, should
        also be liable for its irresponsible servicers. In the assignment setting, the servicer
        is acting as the assignee's agent in the same way that a servicer is acting as a
        creditor's agent had there been no assignment. Servicers in both cases are trying to
        make sure that loan payments are received as required under the obligation's
        terms. Because the relationship is the same, liability principles should be the
        same.
                 Furthermore, just as it did not make sense to absolve all parties of liability
        in the creditor context, see Khan v. Bank of New York Mellon, 849 F.Supp.2d
        1377, 1382 (S.D.Fla.2012), it similarly makes no sense to absolve the assignee of
        all liability. Once the assignee receives the assignment, the assignor is most likely
        out of the picture. If an assignee were not responsible for its servicer's conduct, no
        party could be liable. Id. There has to be some liability in order for it to make
        sense for Congress to have created a cause of action for violating TILA, and it
        makes sense to hold the assignee liable.
                 The wrinkle, which was set aside for a moment, is that for an assignee to
        be liable, the TILA violation must be “apparent on the face of the disclosure
        statement.” § 1641(a). It is apparent from the face of Seterus' response that no
        payoff statement was attached. Fannie Mae argues that § 1641(a) means that an
        assignee can only be liable for documents created at the time of the origination of
        the loan (Fannie Mae's interpretation of “disclosure statements”), which
        documents were assigned to the assignee. If so, then an assignee would not be
        liable for a post-assignment TILA error. The Court must resolve whether §
        1641(a) prohibits a plaintiff from placing liability on an assignee after the
        assignment has been completed, such as when an assignee's servicer violates
        TILA.
                 The Court does not believe that assignees are only liable for lending errors
        arising prior to the assignment. Such a rule would allow assignees to retain the
        sloppiest servicers without any risk. The Court finds support for the imposition of
        vicarious liability from sister district courts.
                 In Rinegard–Guirma v. Bank of America NA, 10–cv–01065, 2012 WL
        1110071, at *9 (D. Or. Apr. 2, 2012), the assignee argued that § 1641(a) limited
        its liability for botched post-assignment informational requests. The court
        acknowledged that “a servicer's failure to provide information to a borrower about
        the owner of her loan in violation of § 1641(f)(2) is not the type of defect that
        would be apparent on the face of a disclosure statement, since a servicer's role
        only begins after disclosures are made.” Id. at *9. The court found, however, that
        an interpretation of TILA that did not hold assignees liable would “conflict with
        the purpose of Congress' 2009 TILA amendment, other statutory language within
        TILA, and case law recognizing the possibility that assignees of creditors can also
        be held liable for servicer's § 1641(f)(2) violations.” Id. at *10. Citing Khan, the

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         court noted that assignees obviously can be liable for failing to disclose
         information, pointing to the rule that servicers who are also assignees may be held
         liable for violations of § 1641(f)(2). Id.
                                                  * * *
                 To this reasoning, the Court would merely reemphasize that “disclosure
         statement” is not defined in § 1641(a) and that term can be construed to
         encompass postassignment disclosures. The Court acknowledges that many of the
         instances in TILA where disclosures are mentioned address situations at the
         inception of the creditor-debtor relationship. E.g. 15 U.S.C. § 1604 (discussing
         model disclosure forms for mortgage loan transactions). But not all references to
         disclosures occur in the pre-assignment context. When Congress amended TILA
         in 2009, it added § 1641(g). See Helping Families Save Their Homes Act of 2009,
         Pub.L. No. 111–22 § 404, 123 Stat. 1632, 1658. That section states, “In addition
         to other disclosures required by this title,” whenever a mortgage loan is sold,
         transferred, or assigned, “the creditor that is the new owner or assignee ” must
         provide the obligor with contact information. 15 U.S.C. § 1641(g) (emphasis
         added). Congress then created a private right of action for violating this new
         subsection, as well as for violating 1641(f)(2). See id.
                 As the 2009 amendments demonstrate, Congress considered
         postassignment informational disclosures to be disclosures within the purview of
         TILA. By the plain terms of § 1641(g), assignees who fail to make that
         informational disclosure can be liable. There is no limitation of the term
         “disclosure statement” to mean only those disclosures made initially between the
         borrower and original creditor. The new § 1641(g) emphatically creates liability
         purely for the assignee's own disclosures or lack thereof. At the very least, the
         2009 amendments broadened the meaning of “disclosure statement” to include
         disclosures made by the assignee post-assignment. The Court concludes that when
         an assignee's servicer fails to make a disclosure under § 1641(f)(2), then the error
         is apparent from the face of that particular disclosure statement and an assignee
         may be liable.

  St. Breux v. U.S. Bank, Nat. Ass'n, 919 F.Supp.2d 1371, 1377 (S.D. Fla. 2013)

         Moreover, “[t]he only difference between a creditor and an assignee is that the creditor

  originates the loan and then owns the obligation, whereas an assignee only receives the

  ownership of the loan without having originated the loan. See 15 U.S.C. §§ 1602(g), 1641(a).

  The type of conduct that violates TILA's informational request provisions like asking for a

  payoff statement, however, only arise post-origination. The distinction between originator and



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  assignee therefore is irrelevant.” Runkle v. Fed. Nat. Mortg. Ass'n, 905 F. Supp. 2d 1326, 1332

  (S.D. Fla. 2012) order vacated in part on reconsideration, 2012 WL 6554755 (S.D. Fla. 2012).

             From a policy perspective, if a creditor is going to be liable for employing an
             irresponsible servicer, an assignee, who is acting just like a creditor, should also
             be liable for its irresponsible servicers. In the assignment setting, the servicer is
             acting as the assignee's agent in the same way that a servicer is acting as a
             creditor's agent had there been no assignment. Servicers in both cases are trying
             to make sure that loan payments are received as required under the obligation's
             terms. Because the relationship is the same, liability principles should be the
             same. Furthermore, just as it did not make sense to absolve all parties of liability
             in the creditor context, see Khan, 849 F.Supp.2d at 1382, it similarly makes no
             sense to absolve the assignee of all liability. Once the assignee receives the
             assignment, the assignor is most likely out of the picture. If an assignee were not
             responsible for its servicer's conduct, no party could be liable. Id. There has to be
             some liability in order for it to make sense for Congress to have created a cause
             of action for violating TILA, and it makes sense to hold the assignee liable.


  Runkle v. Fed. Nat. Mortg. Ass'n, 905 F. Supp. 2d 1326, 1332 (S.D. Fla. 2012)

             The very purpose of §1641(f)(2) is specifically limited to a post origination time period.

  Applying Signori, §1641(f)(2) would only be applicable to servicers who were also the original

  lenders. This scenario is so infrequent—it could not have been the intent of Congress, and

  certainly would not have warranted specifically adding it to the civil liability portion of the

  statute. And—as stated supra—there remain serious questions as to the applicability of

  §1641(g)2.

             The Sixth Circuit Court of Appeals very recently noted the Cenat rationale in a footnote

  in Marais v. Chase Home Fin. LLC, 2013 WL 6170977 (6th Cir. November 26, 2013). If this

  Courts adopts the ruling in Signori, “then an assignee would not be liable for a post-assignment

  TILA error”. Runkle, at 1332. “Such a rule would allow assignees to retain the sloppiest

  servicers without any risk. The Court finds support for the imposition of vicarious liability from

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      A point not even addressed by Defendant.


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  sister district courts”. Id. (citing Rinegard-Guirma v. Bank of Am. NA, 2012 WL 1110071 (D.

  Or. Apr. 2, 2012)). In light of the above, Plaintiff respectfully requests this Court to find that

  vicarious liability applies to assignees.

             B. FANNIE MAE is Vicariously Liable for GREEN TREE’s Violation of TILA

             As a threshold matter, “TILA is a consumer protection statute, and as such must be

  construed liberally in order to best serve Congress' intent”. Ellis v. General Motors Acceptance

  Corp., 160 F.3d 703, 707 (11th Cir. 1998). See also Begala v. PNC Bank, Ohio, N.A., 163 F.3d

  948, 950 (6th Cir. 1998) (“We have repeatedly stated that TILA is a remedial statute and,

  therefore, should be given a broad, liberal construction in favor of the consumer.”); Fairley v.

  Turan-Foley Imps., Inc., 65 F.3d 475, 482 (5th Cir. 1995) (“The TILA is to be enforced strictly

  against creditors and construed liberally in favor of consumers. . . .”). Even technical or minor

  violations of the TILA impose liability. Jackson v. Grant, 890 F.2d 118, 120 (9th Cir. 1989).

             Defendants urge the Court to adopt the holding in Kievman v. Federal Nat. Mortg. Ass’n,

  901 F. Supp. 2d 1348 (S.D. Fla. Sep. 14, 2012). [D.E. 10 at 6]. To date, various courts in the

  Southern District of Florida have grappled with this issue and many have ruled that vicarious

  liability is applicable to TILA. Khan v. Bank of New York Mellon, 849 F. Supp. 2d 1377 (S.D.

  Fla. Mar. 19, 2012); Galeano v. Fed. Home Loan Mortg. Corp., 2012 WL 3613890 (S.D. Fla.

  Aug. 21, 2012); Kissinger v. Wells Fargo Bank, N.A., et. al., 2012 WL 3759034 (S.D. Fla.

  August 30, 2012); Santos v. Federal National Mort. Assc., 2012 WL 3860559 (S.D. Fla. Sept. 6,

  2012); Montano v. Wells Fargo Bank N.A., 2012 WL 5233653 (S.D. Fla. Oct. 23, 2012)3. But

  see Holcomb v. Federal Home Loan Mortgage Corporation, 2011 WL 5080324 (S.D. Fla. Oct.

  26, 2011); Kievman v. Fed. Nat. Mortg. Ass'n, 901 F. Supp. 2d 1348 (S.D. Fla. Sept. 14, 2012).




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      Defendants do not address these cases.


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                     This Honorable Court Should Not Adopt Kievman

            At the outset, Plaintiff acknowledges this point of law is a novel one and this Court will

   have little guidance from its sister courts. Only a handful of courts throughout the country have

   actually addressed the issue of agency liability as it applies to 15 U.S.C. 1641(f)(2) to date.

   Besides the above-mentioned opinions, Rinegard-Guirma v. Bank of Am. NA, 2012 WL

   1110071 (D. Or. Apr. 2, 2012) also disagreed with Holcomb and Kievman and applied vicarious

   liability under very similar circumstances.

            The Holcomb and Kievman courts held, inter alia, that agency principals should not be

   applied to TILA. Id. at *7.          The Kievman court relied on Holcomb in reaching its decision. In

   Holcomb, the plaintiff served its request for information under 1641(f)(2) on Wells Fargo Bank,

   N.A. [“Wells Fargo”]- the loan servicer- who failed to respond. Id. at *1. Holcomb then sued

   Federal Home Loan Mortgage Corporation [“Freddie Mac”] as the creditor of the loan, arguing

   that Freddie Mac was liable for Wells Fargo’s failure as its agent. Id. at *5. The court found that

   Freddie Mac could not be held vicariously liable for Well Fargo’s failure. Id. at *7. Plaintiffs

   urge this Honorable Court not to follow the holding in Holcomb, and instead to follow the

   majority of courts that have ruled on this issue4.

            It is clear that Congress wants borrowers to able to obtain information about the

   ownership of their loans. Furthermore, as a matter of statutory interpretation, TILA should be

   construed “so as to avoid rendering superfluous any statutory language.” Astoria Federal Savings

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    Plaintiffs also respectfully note that the applicable section of Holcomb is fairly bereft of legal analysis, whereas the
   opinions applying vicarious liability are far more thorough in their analyses, and will be discussed below. See Davis
   v. Greenpoint Mortg. Funding, Inc., 2011 WL 7070221 at *3 (N.D. Ga. Mar. 1, 2011); Khan v. Bank of New York
   Mellon, 12-civ-60128-WPD, 2012 WL 1003509 (S.D. Fla. Mar. 19, 2012); Rinegard-Guirma v. Bank of Am. NA,
   3:10-CV-0106S-PK, 2012 WL 1110071 (D. Or. Apr. 2, 2012); Roach v. Option One Mortgage Corp., 598
   F.Supp.2d 741, 753 (E.D.Va.2009); In re Bumpers, 2003 U.S. Dist. LEXIS 26255 (N.D.Ill. Sept. 11, 2003);
   Consumer Solutions REO, LLC v. Hillery, 2010 WL 1222739 (N.D. Cal. Mar. 24, 2010); Johnson v. Multi-
   Solutions, Inc., 2011 WL 3667554 at *3. (D.N.J. Aug. 22, 2011).




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   & Loan Ass'n v. Solimino, 501 U.S. 104, 112 (1991). As part of that interpretation, this Court

   must look at TILA as a whole. The Supreme Court held long ago that "[i]n expounding a statute,

   we must not be guided by a single sentence or member of a sentence, but look to the provisions

   of the whole law, and to its object and policy." United States v. Boisdore's Heirs, 49 U.S. 113,

   122 (1850).

           TILA is, in simple terms, a consumer protection statute. Congress provided that servicers,

   upon request of the borrower, must identify the owner or master servicer of the borrower's loan.

   15 U.S.C. 1641(f)(2). Here, if this Court were to adopt the rationale in Holcomb, Plaintiff has no

   adequate remedy at law for Chase's failure to comply with 12 C.F.R. § 226.36(c)(1)(iii) and 15

   U.S.C. §1641(l)(2), rendering the language in that section meaningless. Moreover, to further it

   remedial purpose, the Court is to liberally construe TILA’s language in favor of the consumer.

   See Rodash v. AIB Mortgage, 16 F.3d 1142, 1444 (11th Cr.1994).

           In May 2009, TILA was amended to add to Section 1640(a), a private right of action

   against creditors for a violation of Section 1641(f)(2). See Pub. L. No. 111-22, § 404(b), 123

   Stat. 1632, 1658 (2009); 15 U.S.C. § 1640(a) (“Except as otherwise provided in this section, any

   creditor who fails to comply with any requirement imposed under this part, including any

   requirement under... subsection (f) or (g) of section 1641 of this title,... with respect to any

   person is liable to such person....”).

           Adding a private cause of action was, “in part, a reaction to the continuing concern that,

   lacking a private right of action, Section 1641(f)(2) had failed to protect homeowners from

   harms associated with nondisclosures.” Davis v. Greenpoint Mortg. Funding, Inc., 2011 WL

   7070221 at *3 (N.D. Ga. Mar. 1, 2011) report and recommendation adopted in part, rejected in

   part on other grounds, 2011 WL 7070222 (N.D. Ga. Sept. 19, 2011) (citing 155 Cong. Rec.

   S5173–74 (daily ed. May 6, 2009).) “Furthermore, the amendment responded to concerns


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   voiced by various consumer protection agencies and illustrated by a 2007 TILA case that

   highlighted the disastrous effects that a failure to disclose pursuant to a Section 1641(f)(2)

   request can have upon a consumer's ability to exercise her rights.” Id. See also 155 Cong. Rec.

   S5173–74 (daily ed. May 6, 2009); see In re Meyer, 379 B.R. 529, 553–554 (Bkrtcy.E.D.Pa.

   Nov.29, 2007) (describing situation where consumers attempted to exercise rescission rights

   pursuant to TILA, servicer refused to reveal identity of note holder, and statute of limitations for

   the cause of action expired).

          In proposing the amendments to TILA aimed at helping borrowers identify the owner of

   their mortgage obligations, Senator Barbara Boxer stated:

          "Federal law does require that the servicer tell the homeowner the identity of the person
          holding their mortgage. ...While servicers are required to disclose this information, there
          are no penalties in the law for noncompliance and no remedies for a homeowner faced
          with a recalcitrant servicer."

   See, 155 Cong. Rec. S5098 (May 5, 2009). “Thus, it is apparent that Congress intended to hold

   creditors liable for violations of Section 1641(f)(2).” Davis, at *3.

          Analyzing Holcomb and the other opinions on point, Judge Dimitrouleas disagreed with

   Judge Hurley and was persuaded “that Congress meant to extend agency principles to creditors

   or make creditors liable under § 1641(f)(2) by intentionally inserting the private right of action

   for violations of § 1641(f)(2) into § 1640(a), a remedy section that provides for civil liability

   against creditors.” Khan, at *5. The Khan court then rejected defendant's position that it cannot

   be vicariously liable for damages under § 1641(a) as a result of its servicers alleged failure to

   properly respond to plaintiff’s §1641(f)(2) request for information, and denied the motion to

   dismiss. Id.

          The Honorable James I. Cohn of the Southern District of Florida found Khan’s reasoning

   persuasive in Galeano v. Fed. Home Loan Mortg. Corp.,. 2012 WL 3613890 (S.D. Fla. Aug. 21,

   2012)(The undersigned, like Judge Dimitrouleas, “is persuaded that Congress meant to extend

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   agency principles to creditors or make creditors liable under § 1641(f)(2) by intentionally

   inserting the private right of action for violations of § 1641(f)(2) into § 1640(a), a remedy section

   that provides for civil liability against creditors.”)

            Judge Marra agreed with the overwhelming majority of courts that have analyzed this

   issue. Kissinger, at 10. “This Court chooses to follow the reasoning of the courts finding

   vicarious liability. There is no question that Congress created a cause of action as set forth in 15

   U.S.C. § 1640(a). At the same time, Congress mandated that servicers would not be liable for a

   TILA violation. 15 U.S.C. § 1641(f). As such, the Court concludes that Congress intended the

   servicer’s agent to be liable; otherwise, Congress created a cause of action with no one to sue for

   relief.” Id. Judge Ryskamp followed suit in Montano.

            As the Holcomb court noted, the court in Hillery, was faced with a similar dilemma.

   Consumer Solutions REO, LLC v. Hillery, 2010 WL 1222739 (N.D. Cal. Mar. 24, 2010). In

   Hillery, the court addressed the main rationalization the Holcomb put forth; namely, that 15

   U.S.C. 1641(g)5 was the vehicle in which congress intended to impose liability on the creditor.

   Id. at *4. The court was not persuaded, finding:

            If § 1641(g)(1) simply required a creditor to provide the above information upon
            a request by the obligor, as in § 1641(f)(2), this would be strong evidence that
            Congress enacted §1641(g)(1) to effectuate a change to § 1641(f)(2)-by
            expanding liability from the servicer to the creditors. This would imply that prior
            to 2009, liability was limited to the servicer. But §1641(g)(1) does not merely
            require action from a creditor only upon a request by the obligor. Rather,
            §1641(g)(1) puts an affirmative obligation on the creditor to act, regardless of the
            obligor's conduct. By doing so, it does far more than arguably expand the list of
            parties who may be liable under §1641(f)(2); it changes the substantive
            obligations of creditors. Therefore, contrary to what [plaintiff] argues,
            §1641(g)(1)'s enactment does not implicitly presume that a creditor is not liable
            under §1641(f)(2) for its servicer's failure to respond to a borrower's request for
            information.”
   5
     “In addition to other disclosures required by this title, not later than 30 days after the date on which a mortgage
   loan is sold or otherwise transferred or assigned to a third party, the creditor that is the new owner or assignee of the
   debt shall notify the borrower in writing of such transfer, including [inter alia ] the identity, address, telephone
   number of the new creditor ....15 U.S.C. § 1641(g)(1).


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   Consumer Solutions REO, LLC v. Hillery, 2010 WL 1222739 at *4.

            The Hillery court acknowledged the limited case law on the issue, but noted, “what little

   case law there is indicates that liability based on an agency relationship is generally cognizable

   under TILA.” Id. (citing Roach v. Option One Mortgage Corp., 598 F.Supp.2d 741, 753

   (E.D.Va.2009); In re Bumpers, 2003 U.S. Dist. LEXIS 26255 (N.D.Ill. Sept. 11, 2003). The

   court “consider[ed] the importance of providing borrowers with information about the current

   lender under § 1641(f)(2) in the increasingly prevalent context of, e.g., securitized loans where

   the identity of the lender may be difficult to ascertain. Absent an indication of Congressional

   intent to the contrary, the Court holds that agency principles apply to §1641(f)(2).” Hillery, at

   *4.

            Analogously in Davis, the court applied agency principles to §1641(f)(2) after a thorough

   analysis. Davis v. Greenpoint Mortg. Funding, Inc., 2011 WL 7070221 at *3 (N.D. Ga. Mar. 1,

   2011).

             To reconcile the substantive obligation imposed upon servicers in Section
             1641(f)(2) and the remedial obligation levied upon creditors in Section 1640(a),
             this Court reads TILA to allow the application of agency principles so that
             creditors may be held vicariously liable for the acts of servicers as Plaintiff
             urges. By its plain language, 15 U.S.C. § 1641(f)(2) imposes a disclosure
             obligation that is directed to servicers only. Thus, it is a servicer's failure to act
             that gives rise to the private right of action that is authorized in 15 U.S.C. §
             1640(a). See 15 U.S.C. § 1641(f)(2); 15 U.S.C. § 1640(a). TILA, however, does
             not contain any provisions allowing a consumer to bring a civil action against a
             servicer for a violation of Section 1641(f)(2). Section 1641(f)(2) does not
             provide for a servicer's liability for damages if it fails to comply with the
             section's obligations, 15 U.S.C. § 1641(f) (2), and the only provisions within
             Section 1641 concerning servicer liability limits a servicer's liability to
             situations in which the servicer was once an assignee or owner of the loan. 15
             U.S.C. § 1641(f)(1). […] Because TILA does not impose liability upon a
             servicer who is not an owner or assignee of a note, the private right of action
             that Section 1640(a) creates would be meaningless, unless agency principles
             permit a creditor to be held liable for Section 1641(f)(2) violations committed
             by its servicer. To avoid rendering Section 1640(a) superfluous, this Court
             concludes that agency principles apply, and creditors may be held vicariously
             liable for the Section 1641(f)(2) violations of their servicers. […] This
             conclusion gives force to the disclosure provision in Section 1641(f)(2) and

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             comports with the intent of TILA to be “remedial in nature ... and ... [to] be
             construed liberally in order to best serve Congress's intent .” Ellis v. Gen.
             Motors Acceptance Corp., 160 F.3d 703, 707 (11th Cir.1998).

   Davis v. Greenpoint Mortg. Funding, Inc., 2011 WL 7070221 at *4 (N.D. Ga. Mar. 1, 2011).

          The Davis and Hillery courts are an example of the many Federal courts to apply

   vicarious liability to TILA. “Although this district has not addressed whether agency principles

   apply to TILA claims, we will presume that agency principles do apply in light of TILA's broad

   construction as a remedial statute, see Roberts v. Fleet Bank, 342 F.3d 260, 266 (3d Cir.2003), as

   well as the fact that other districts have found that these principles do apply.” Johnson v. Multi-

   Solutions, Inc., 2011 WL 3667554 at *3. (D.N.J. Aug. 22, 2011) (citing Consumer Solutions

   REO, LLC v. Hillery, 2010 WL 1222739, at *4 (N.D.Cal. Mar.24, 2010); Roach v. Option One

   Mortg. Corp., 598 F.Supp.2d 741, 753 (E.D.Va.2009); In re Bumpers, 2003 WL 22119929, at

   *7–9 (N.D.Ill. Sept.11, 2003). See also Ording v. BAC Home Loans Servicing, LP, 2011 WL

   99016 (D. Mass. 2011) (while servicer must disclose the identity of the holder, it is the holder

   who has liability under TILA).

          Magistrate Judge Papak of the District of Oregon, analyzed Khan, Holcomb, and many of

   the other cases cited supra. Rinegard-Guirma v. Bank of Am. NA, 2012 WL 1110071 (D. Or.

   Apr. 2, 2012). Judge Papak concluded that “the Davis court's approach [was] more persuasive.

   First, Holcomb is suspect because it completely ignores the language and effect of the 2009

   TILA amendments, which bear directly on a creditor's liability under Section 1641(f). Moreover,

   although only a handful of courts have addressed this issue, the trend is towards recognizing

   creditor liability for servicer's violations of § 1641(f).” Rinegard, 2012 WL 1110071 at *9.

          TILA is a very detailed statute and had congress intended to limit vicarious liability, it

   would have done so just as it did for assignee liability in §1641(a) and servicer liability in

   §1641(f)(1). Additionally, the 2009 amendments to TILA took place at a time when the country


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   was in the midst of a massive nation-wide foreclosure crises, and the amendments were designed

   to afford additional protections to the consumer. “Given that the servicer cannot be held liable

   for damages for a §1641(f)(2) violation, and the very nature of such a violation implies the

   debtor will not know the identity of and contact information for the owner of the note, the debtor

   would be left essentially without a remedy absent some form of vicarious liability. Such a result

   would seem particularly problematic in the not uncommon situation where a loan has been resold

   or packaged and securitized, leaving the ultimate owner of obligation several steps removed from

   the borrower.” Consumer Solutions REO, LLC v. Hillery, 2010 WL 144988 (N.D. Cal. Jan. 8,

   2010) adhered to on reconsideration, Consumer Solutions Reo, LLC v. Hillery, 2010 WL

   334417 (N.D. Cal. Jan. 28, 2010).6

              Congress was well aware that the vast majority of mortgages were securitized and

   serviced by servicers. Congress took the extra step of including §§1641(f)(2) and (g)(1) which

   serve different purposes. Congress also added a private cause of action for a violation of

   §1641(f)(2), which would be made superfluous if the Court will not apply vicarious liability.

   Congress’ “intentional insertion of the private right of action for violation of § 1641(f)(2) into a

   remedy section that provides for civil liability against creditors suggests that Congress did

   exactly” what the Holcomb court suggests it should have done. Davis 2011 WL 7070221 at *5.

               To deny Plaintiff redress under these circumstances would go against the very intent of

   congress and the very object and policy of TILA. It would reward GreenTree for its unlawful

   violation of Federal law and as the Holcomb court noted, that would “take on a legislative rather

   than judicial function”. Holcomb, at *4.

              C. Vicarious Liability Imputes the Act not the Liability

              Defendants then argue that even if this Court were to find that TILA imposes vicarious

   6
       Although the style is the same, this is an opinion on a separate motion than that cited supra.


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   liability, Fannie Mae is only liable to the extent that Green Tree is liable. Thus, because Green

   Tree is a servicer and TILA imposes no liability on servicers, Fannie Mae has no liability.

           Defendants’ argument is flawed as Defendants misunderstand the fundamentals of

   agency theory. It is not the liability that transfers but the act itself that is imputed to the principle.

   Mobil Oil Corp v. Bransford, 648 So. 2d 119, 121 (Fla. 1995). Thus, irrespective of whether

   Green Tree may be held liable for a violation of TILA, it is not the liability that imputes to

   Fannie Mae, rather the act of Green Tree’s failure to comply with TILA, which is imputed to

   Fannie Mae.

           D. Green Tree’s Letter did not Comply with Section 1641(f)(2)

           Plaintiff has withdrawn Count II of her Complaint and any allegations that Defendants

   failed to comply with §1641(f)(2). Thus, Plaintiff will not address Defendants arguments which

   are now moot.

           E. Section 1641(f)(2) is not Unconstitutionally Vague

           Plaintiff has withdrawn Count II of her Complaint and any allegations that Defendants

   failed to comply with §1641(f)(2). Thus, Plaintiff will not address Defendants arguments which

   are now moot.

           F. There is an Implied Private Right of Action for Consumer to Pursue and Action
              for Vicarious Liability Against an Assignee for the Failure of a Servicer to
              Comply with 15 U.S.C. § 1641(f)(2) of TILA and 12 C.F.R. § 226.36(c)(1)(iii)

           Defendant next argues that there is no private cause of action for a violation of 12 C.F.R.

   § 226.36(c)(1)(iii)7 [D.E. at 11]. Defendants rely on Alexander v. Sandoval, 532 U.S. 275

   (2001) for support but completely miss the mark. The gravamen of Defendants’ argument is that


   7 As authorized by TILA, on October 1, 2009, new 12 C.F.R. § 226.36(c)(1)(iii) went into effect (also known as part
   of “Regulation Z”). The Federal Reserve Board of Governors was authorized to promulgate Regulation Z under 15
   U.S.C. § 1604(a). The information collection requirements were approved by the Office of Management and Budget
   under 44 U.S.C. § 3501 et seq. and were assigned OMB number 7100–0199. See In re Herrera, 422 B.R. 698,
   (B.A.P. 9th Cir. 2010) aff'd sub nom. In re Monroy, 650 F.3d 1300 (9th Cir. 2011).


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   Congress made no indication that it wanted to include a private cause of action to TILA.

   Tellingly, Defendants do not even assert that GreenTree complied with 12 C.F.R. §

   226.36(c)(1)(iii). Sandoval and its test are not relevant here as a private cause of action was

   specifically contemplated as will be explained.

           Noticeably absent from Defendants’ Motion to Dismiss is Runkle and Danier v. Fed. Nat.

   Mortg. Ass'n, 2013 WL 462385 (S.D. Fla. 2013)8. In Runkle, Judge Dimitrouleas, found “that a

   TILA plaintiff can sue for violations of § 226.36(c)”.

               [T]his Court finds that a TILA plaintiff can sue for violations of § 226.36(c).
               TILA Section 1640, entitled Civil Liability, states that “any creditor who fails
               to comply with any requirement imposed under this part” is liable. 15 U.S.C. §
               1640(a) (emphasis added). The heading of that subsection states that its content
               addresses “individual or class action for damages.” Section 1639 is a part of
               TILA. Section 1639(l )(2) allows the Bureau to prohibit acts and practices that
               are unfair, and failing to provide a payoff statement is unfair. Because the
               Bureau has prohibited the refusal to provide a payoff statement, it has imposed
               a requirement, and therefore a creditor can be liable for failing to comply with
               that requirement. As a result, the Court finds that a violation of 15 U.S.C. §
               1639(l )(2) can be brought as a private cause of action.

   Runkle v. Fed. Nat. Mortg. Ass'n, 905 F. Supp. 2d 1326, 1331 (S.D. Fla. 2012)

           In Danier, Judge Kenneth A. Marra analyzed Kievman, Montano, and Runkle and

   concluded: “After reviewing the relevant authorities, the Court chooses to follow the reasoning

   of Runkle. In so doing, the Court concludes that a private cause of action exists for a violation of

   15 U.S.C. § 1639(1)(2) and therefore Plaintiffs can sue for violations of 12 C.F.R.

   226.36(c)(1)(iii). Danier v. Fed. Nat. Mortg. Ass'n, 2013 WL 462385 at *4 (S.D. Fla. 2013).

           12 C.F.R. § 226.36(c)(1)(iii) provides that no servicer shall: Fail to provide, within a

   reasonable time after receiving a request from the consumer or any person acting on behalf of the


   8
    But see Kievman v. Fed. Nat. Mortg. Ass'n, 901 F. Supp. 2d 1348 (S.D. Fla. 2012) In Montano, Judge Ryskamp
   found a private cause of action existed, albeit limited to a ‘high-cost’ loan. Montano v. Wells Fargo Bank N.A.,
   2012 WL 5233653 (S.D. Fla. 2012)


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   consumer, an accurate statement of the total outstanding balance that would be required to satisfy

   the consumer's obligation in full as of a specified date. The Board of Governors of the Federal

   Reserve System [“the Board”] found a ‘reasonable time’ within which to provide the pay-off

   statement to be five business days. See 73 FR 44522-44573 (July 30, 2008). The Board then

   found the acts and practices prohibited under §226.36(c) to be unfair pursuant to 15 U.S.C.

   1639(l)(2). See 73 FR 44522-44570 (July 30, 2008).

          Plaintiff urges this Court not to follow Kievman. There, in summarily analyzing 15

   U.S.C. 1639(l)(2), the Honorable Ursula Ungaro held that “there is no private right of action at

   all for a violation of this regulation”. Kievman, at 1353. Judge Ungaro read 15 U.S.C. 1639(m)

   as a limitation on 15 U.S.C. 1639(l)(2). Plaintiffs submit that 15 U.S.C. 1639(m) should be read

   as an addition to the private cause of action available under 15 U.S.C. 1639(l)(2) in allowing the

   Federal Trade Commission to pursue claims under 15 U.S.C. 1639(l)(2) as well. The plain

   language of the statute supports such a reading. “For purposes of enforcement by the Federal

   Trade Commission, any violation of a regulation issued by the Bureau pursuant to subsection

   (l)(2) shall be treated as a violation of a rule promulgated under section 57a of this title regarding

   unfair or deceptive acts or practices”. 15 U.S.C. 1639(m)(emphasis added).

          Neither the Defendants nor the Kievman court have explained the opening words of the

   subsection: “For purposes of enforcement by the Federal Trade Commission…”. Those words

   are clearly not limiting the private cause of action granted under 15 U.S.C. 1640(a). In fact, 15

   U.S.C. 1640(a)(4) deals solely with violations of 15 U.S.C. 1639 (in the case of a failure to

   comply with any requirement under section 1639 of this title…). There is no other case law or

   statutory language to suggest that there is no private cause of action for violations of 15 U.S.C.

   1639(l)(2). Conversely, the language and intent behind 12 C.F.R. § 226.36(c)(1)(iii) indicate that

   congress did indeed intend there to be a private cause of action. See 73 FR 44522-44570 (July


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   30, 2008).

           Moreover, Congress’ intent is confirmed by its amendment to TILA in the Dodd-Frank

   Amendments. Congress amended 15 U.S.C. 1639(g) to read : A creditor or servicer of a home

   loan shall send an accurate payoff balance within a reasonable time, but in no case more than 7

   business days, after the receipt of a written request for such balance from or on behalf of the

   borrower. (Pub. L. 90–321, title I, § 129G, as added Pub. L. 111–203, title XIV, § 1464(b), July

   21, 2010, 124 Stat. 2184.) The new §1639(g) is due to take effect January 10, 2014, after a one-

   year extension. (Section effective on the date on which final regulations implementing such

   section take effect, or on the date that is 18 months after the designated transfer date if such

   regulations have not been issued by that date, see section 1400(c) of Pub. L. 111–203). The fact

   that Congress chose to seat this new requirement in §1639 without specifying that it applies to

   high-cost mortgages- a creditor or servicer of a home loan- is further indication that §1639 does

   not only apply to high-cost mortgages and that it is subject to a private cause of action.

                                        CONCLUSION
           To deny Plaintiffs relief would go against the very object and policy of TILA and reward

   Defendants for its unlawful violation of Federal law. For the reasons discussed above, Plaintiff,

   MARIE LUCIEN, respectfully requests this Honorable Court deny Defendants’ Motion to

   Dismiss, order Defendants to file an Answer to Plaintiff’s Complaint, and grant such other relief

   as is just and proper.

                                         Respectfully submitted,
                                         LOAN LAWYERS, LLC
                                         Attorneys for Plaintiff

                                  By:    s/Yechezkel Rodal__________________
                                         YECHEZKEL RODAL ESQ.
                                         FBN 091210




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
   filed on January 6, 2014 with the Clerk of Court using CM/ECF along with having served all
   counsel of record or pro se parties identified on the service list incorporated herein in the manner
   specified, either via transmission of Electronic filing generated by CM/ECF or in some other
   authorized manner for those counsel or parties not authorized to receive electronically Notice of
   Electronic Filing.



   George N. Andrews, Esq.
   Shutts & Bowen LLP
   200 E. Broward Blvd. Suite 2100
   Fort Lauderdale, FL 33301
   Counsel for Defendants
   Service by CM/ECF

                                                 LOAN LAWYERS, LLC
                                                 Attorneys for Plaintiff
                                                 377 North State Road 7, Suite #202
                                                 Plantation, FL 33317
                                                 Telephone:     (954) 523-4357
                                                 Facsimile:     (954) 581-2786


                                                 /s/Yechezkel Rodal__________________
                                                 YECHEZKEL RODAL ESQ.
                                                 FBN 091210
                                                 E-Mail: chezky@floridaloanlawyers.com
